                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                GREENEVILLE DIVISION

 B.P., et al.,

                 Plaintiffs,

 v.                                                    No: 2:23-cv-00071-TRM-JEM



 CITY OF JOHNSON CITY, TENNESSEE, et al.,

               Defendants.
         __________________________________/

                           DECLARATION OF ELIZABETH KRAMER

 I, ELIZABETH KRAMER, declare under penalty of perjury that the foregoing is true and

 correct:

      1. I am over twenty-one years of age and am competent in all respects to give this

         Declaration. This Declaration is given freely and voluntarily. I have personal knowledge

         of the foregoing matter and could, and would, testify competently thereto under penalty

         of perjury.

      2. I am counsel for Plaintiffs B.P., et al. and the proposed classes in the above-referenced

         case. I am a licensed attorney in good standing in the State of California (CABN 293129)

         and admitted to appear pro hac vice in this District.

      3. On May 21, 2024, Plaintiffs received an email from their ESI vendor that additional,

         potentially relevant data was identified on B.P.’s device. In subsequent phone calls with

         that vendor, I learned that the data had not been previously identified because of a search

         criteria error in the data pull.


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    4. Plaintiffs’ counsel had three straight days of depositions in this matter (May 21-23,

        2024), and as soon thereafter as feasible, reviewed that data and produced responsive,

        non-privileged documents, including the attachment to Peters’ Reply.

 Dated this 17th day of June 2024.

                                             /s/ Elizabeth A. Kramer
                                             ELIZABETH A. KRAMER




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                                 CERTIFICATE OF SERVICE

         I HEREBY certify that a copy of the foregoing has been filed and served via the court's
 electronic filing system on June 17, 2024, to counsel of record:

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                                                   and Brady Higgins in his individual capacity


                                                      /s/ Elizabeth Kramer
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